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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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ATTICUS LIMITED LIABILITY COMPANY, 22cv10147 (DLC)

Plaintiff, ORDER

and :
AARON SORKIN,
Involuntary Plaintiff,
-y-

THE DRAMATIC PUBLISHING COMPANY,

Defendant. :
i x

DENISE COTE, District Judge:

In an Opinion of April 27, 2023, the Court denied
Dramatic’s motion to dismiss and granted in part Atticus’ cross-—
motion for summary judgment. The Opinion left open the question
of whether the plaintiff’s claim is limited by the doctrine of
claim preclusion. A conference was held on May 25 to determine
whether Dramatic was entitled to discovery and the scope of any
such discovery.

The parties submitted a letter on June 16, 2023, regarding
the status of fact discovery on the issue of claim preclusion --
specifically concerning privity through “assumed control”
exercised by Atticus over the Lee Estate in connection with the

Estate’s arbitration with Dramatic. The standard governing

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privity through control was set forth in the April 27 Opinion
and is incorporated by reference.

In the June 16 submission, Dramatic identified two possible
areas for further discovery, but stated it does not require
additional discovery “{i]f the Court does not view full
disclosure of Atticus’ role in preparing and advising on the
exclusivity briefing sufficient to constitute ‘control’ as a
matter of law.” Having reviewed the June 16 submission and its
attachments, it is hereby

ORDERED that Atticus has produced the relevant discovery
materials sought by Dramatic and the further discovery sought by
Dramatic 18 unnecessary.

IT IS FURTHER ORDERED that Dramatic’s argument -- that
Atticus and the Lee Estate are in privity for purposes of claim
preclusion because Atticus “assumed control” over the hee
Estate’s arbitration with Dramatic -- is denied. Dramatic has
failed to put forth any evidence suggesting that Atticus
controlled the Lee Bstate’s conduct in the arbitration,

Dramatic cannot rely on “unsubstantiated speculation.” Bermudez

v. City of New York, 790 F.3d 368, 374 (2d Cir. 2015) (citation

omitted). Accordingly, Atticus’ February 6, 2023, cross-motion
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for summary judgment is granted in full.

Dated: New York, New York
July 25, 2023

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NISE COTE
United States District Judge
